The plaintiff in error, George Tilley, was convicted in the county court of Tulsa county on an information charging that he did unlawfully have possession of 34 half pints of whisky with the intention of selling the same. On the 28th day of May, judgment was rendered, and in accordance with the verdict of the jury he was sentenced to be confined in the county jail for a period of 30 days and to pay a fine of $250. From the judgment he appealed, by filing in this court July 28, 1917, a petition in error with case-made. The proof on the part of the state, showing possession of the intoxicating liquors as charged, is conclusive and uncontroverted. No brief has been filed. The *Page 704 
Attorney General has filed a motion to dismiss the appeal, and no answer has been filed, and no appearance made on behalf of the plaintiff in error. It appearing that the appeal herein is destitute of merit and has been abandoned, the motion to dismiss will be sustained, and the cause remanded to the county court of Tulsa county. Mandate forthwith.